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05/25/2018 12:07 AM CDT




                                                          - 356 -
                                  Nebraska Supreme Court A dvance Sheets
                                          299 Nebraska R eports
                                           IN RE INTEREST OF KEYANNA R.
                                                  Cite as 299 Neb. 356



                                    In   re I nterest of
                                                      K eyanna R., a child
                                                   18 years of age.
                                                 under
                                          State of Nebraska, appellee,
                                           v. K eyanna R., appellant.
                                                     ___ N.W.2d ___

                                           Filed March 16, 2018.    No. S-17-659.

                1.	 Juvenile Courts: Appeal and Error. An appellate court reviews juve-
                    nile cases de novo on the record and reaches a conclusion independently
                    of the juvenile court’s findings.
                2.	 Minors: Proof. The exhaustion requirement of Neb. Rev. Stat.
                    § 43-251.01(7)(a) (Reissue 2016) demands evidence establishing that
                    no other community-based resources have a reasonable possibility for
                    success or that all options for community-based services have been thor-
                    oughly considered and none are feasible.

                 Appeal from the Separate Juvenile Court of Lancaster
               County: Toni G. Thorson, Judge. Affirmed.
                  Joe Nigro, Lancaster County Public Defender, and James G.
               Sieben for appellant.
                 Joe Kelly, Lancaster County Attorney, Tara Parpart, and
               Margaret R. Jackson, Senior Certified Law Student, for
               appellee.
                 Heavican,               C.J.,    Miller-Lerman,          Cassel,   Stacy,   and
               Funke, JJ.
                    Miller-Lerman, J.
                                   NATURE OF CASE
                  Keyanna R. appeals from a disposition by the separate
               juvenile court of Lancaster County which ordered her placed
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           Nebraska Supreme Court A dvance Sheets
                   299 Nebraska R eports
                 IN RE INTEREST OF KEYANNA R.
                        Cite as 299 Neb. 356
in a residential group home. The appeal presents the question
of whether the out-of-home placement order complied with
Neb. Rev. Stat. § 43-251.01(7) (Reissue 2016), which requires
that a juvenile not be placed out of his or her home as a dis-
positional order unless “(a) [a]ll available community-based
resources” have been exhausted and “(b) [there is] a signifi-
cant risk of harm to the juvenile or community” by “[m]ain-
taining the juvenile in the home.” We conclude the out-of-
home placement complied with both requirements. Therefore,
we affirm.
                   STATEMENT OF FACTS
   Keyanna was adjudicated pursuant to Neb. Rev. Stat.
§ 43-247(1) (Reissue 2016) based on a plea of no contest to
unauthorized use of a propelled vehicle, a Class III misde-
meanor. Neb. Rev. Stat. § 28-516 (Reissue 2016). The charges
stemmed from an incident in which Keyanna, with a group of
friends, took the vehicle of another juvenile’s parent without
permission and drove it to Texas. The vehicle was recovered in
Ellsworth, Kansas.
   After Keyanna entered her no contest plea, the court
placed her on a conditional release to Boys Town Psychiatric
Residential Treatment Facility (PRTF) in Omaha, Nebraska,
where she began treatment in February 2017. Keyanna did
not object to this order. The court stated that its conditional
release was based on an evaluation which identified troubling
behavior at home and at school. These behaviors had included
threatening to commit suicide or to run away, being expelled
from two high schools because of physical altercations with
peers, and refusing to attend two support programs.
   Certain issues arose while Keyanna was in the PRTF pro-
gram. On one occasion, Keyanna was found to be too unsafe to
be transported to Lincoln for a court hearing. There were safety
concerns while Keyanna was at PRTF, including Keyanna’s
evident risk of self-harming and running away (possibly by
taking a staff member’s car). On the other hand, Keyanna
made progress regarding anger control and self-calming. She
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           Nebraska Supreme Court A dvance Sheets
                   299 Nebraska R eports
                  IN RE INTEREST OF KEYANNA R.
                         Cite as 299 Neb. 356
was deemed to have successfully completed the program in
June 2017.
   A dispositional hearing was conducted on June 12, 2017.
Following the hearing, the court entered a dispositional order
and an “Agreement and Order of Probation,” which placed
Keyanna on probation for 2 years and ordered her to reside
at a Boys Town group home. The court ordered a review after
6 months.
   At the June 12, 2017, disposition hearing, Keyanna’s proba-
tion officer testified about the treatment available at the Boys
Town residential group home. The probation officer testified
that the treatment plan at that residential group home would
include family therapy and weekly outpatient therapy to work
on mood stabilization. The probation officer testified that out-
patient therapy and family therapy services were available in
Lincoln, but that the treatment team and Keyanna’s mother
believed it was in Keyanna’s best interests to participate in the
group home level of care. The probation officer stated that the
duration of the residential group home program was generally
6 months to a year. Keyanna’s therapist believed the group
home would permit Keyanna to practice her skills in an envi-
ronment that was less restrictive than PRTF.
   In making its determination, the court advised Keyanna that
the testimony at the hearing showed that the Boys Town resi-
dential group home rather than home placement could prevent
backsliding from the therapy she had received on conditional
release at PRTF and help her follow through. The court noted
that because the evidence showed that the group home pro-
gram was integrative, Keyanna would have access to the Boys
Town doctors she had been seeing, rather than starting over
with new providers in Lincoln. The testimony universally char-
acterized the Boys Town group home as a “step down” from
intensive treatment designed to facilitate Keyanna’s return to
the family home.
   In its June 12, 2017, order styled “Reasonable Effort
Determination,” the court found that reasonable efforts and all
available community resources had been exhausted and that it
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           Nebraska Supreme Court A dvance Sheets
                   299 Nebraska R eports
                  IN RE INTEREST OF KEYANNA R.
                         Cite as 299 Neb. 356
would be contrary to Keyanna’s welfare to reside in the family
home due to her need for additional structure and supervision.
The court named efforts considered and attempted, includ-
ing counseling, evaluation, and probation supervision. The
order stated that residing “in the home presents a significant
risk of harm to [Keyanna] and [the] community.” The June
12 “Agreement and Order of Probation” was consistent with
this order.
   Keyanna appeals the June 12, 2017, disposition placing her
in the group home.
                 ASSIGNMENTS OF ERROR
   Keyanna assigns, restated, that the juvenile court erred
when it ordered her to reside at a Boys Town group home,
because there was insufficient evidence that all community-
based resources had been exhausted and the evidence failed to
show that residing in the family home presented a significant
risk of harm to her or the community. Keyanna also contends
that the court applied a best interests analysis and ignored the
controlling statute, § 43-251.01(7).
                   STANDARD OF REVIEW
   [1] An appellate court reviews juvenile cases de novo on
the record and reaches a conclusion independently of the juve-
nile court’s findings. In re Interest of Lilly S. &amp; Vincent S., 298
Neb. 306, 903 N.W.2d 651 (2017).
                          ANALYSIS
   Keyanna claims that the juvenile court erred when it placed
her in a residential group home. She argues that the rel-
evant statutory requirements were not met, because there was
insufficient evidence all community-based resources had been
exhausted, and that the evidence failed to show residing in her
family home presented a significant risk of harm to her or the
community. She also contends that the juvenile court wrongly
applied a best interests analysis at the expense of adhering to
the applicable statute. After a review of the statute and the
record, we reject Keyanna’s assignments of error.
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           Nebraska Supreme Court A dvance Sheets
                   299 Nebraska R eports
                  IN RE INTEREST OF KEYANNA R.
                         Cite as 299 Neb. 356
   The parties agree that the controlling statute applicable to
this case is § 43-251.01(7), which provides as follows:
      A juvenile alleged to be a juvenile as described in subdi-
      vision (1), (2), (3)(b), or (4) of section 43-247 shall not
      be placed out of his or her home as a dispositional order
      of the court unless:
         (a) All available community-based resources have
      been exhausted to assist the juvenile and his or her fam-
      ily; and
         (b) Maintaining the juvenile in the home presents a sig-
      nificant risk of harm to the juvenile or community.
   As an initial matter, we note that application of § 43-251.01
requires a dispositional order. We have reviewed the record
of the June 12, 2017, hearing and the associated orders. We
conclude that the juvenile court’s rulings which resulted from
the hearing and ordered that Keyanna be placed out-of-home at
Boys Town group home are a dispositional order for purposes
of § 43-251.01. Accordingly, we apply this statute to the facts
of this case.
   [2] We have recently interpreted the exhaustion requirement
of § 43-251.01(7)(a) in In re Interest of Dana H., ante p. 197,
___ N.W.2d ___ (2018). We concluded that the exhaustion
requirement of § 43-251.01(7)(a) demands evidence establish-
ing that no other community-based resources have a reason-
able possibility for success or that all options for community-
based services have been thoroughly considered and none are
feasible. In reaching our interpretation of § 43-251.01(7)(a),
we adopted the reasoning with respect to a similar statute
interpreted in In re Interest of Nedhal A., 289 Neb. 711, 856
N.W.2d 565 (2014), wherein we stated that the comparable
exhaustion requirement did not imply that a juvenile court
must ensure that every conceivable community-based resource
has been tried and failed. In re Interest of Dana H., supra.
With the foregoing understanding in mind, we have reviewed
the evidence, and we determine that contrary to Keyanna’s
contention, the evidence satisfied the exhaustion requirement
of § 43-251.01(7)(a).
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           Nebraska Supreme Court A dvance Sheets
                   299 Nebraska R eports
                 IN RE INTEREST OF KEYANNA R.
                        Cite as 299 Neb. 356
   The evidence regarding the options available to the juvenile
court including community-based options is described in the
“Statement of Facts” section of this opinion and will not be
repeated here. In sum, the exhaustion evidence showed that
the “step down” treatment at the Boys Town group home was
uniquely suited for Keyanna so she could solidify the progress
she had made during her placement at RPTF. According to the
evidence, compared to community-based resources, the group
home was the best approach for Keyanna to facilitate her tran-
sition back to the family home.
   With respect to the risk analysis required under
§ 43-251.01(7)(b), there is evidence which indicates that given
Keyanna’s history of self-harming and running away, struc-
ture was still required to minimize these risks to Keyanna and
the community.
   Having performed our de novo review, we determine that
before ordering out-of-home placement, the juvenile court
made the correct statutory findings. The juvenile court did not
ignore the statute; nor did it rely strictly on a best interests
analysis. The juvenile court’s findings were supported by the
evidence. Thus, upon our de novo review, we find no merit to
Keyanna’s assertions to the contrary.
                      CONCLUSION
  For the reasons set forth above, the orders of the juvenile
court are affirmed.
                                                  A ffirmed.
  Wright and K elch, JJ., not participating.
